
78 N.Y.2d 986 (1991)
The People of the State of New York, Respondent,
v.
Harvey Shandler, Appellant.
Court of Appeals of the State of New York.
Decided September 12, 1991.
Charles M. Newell for appellant.
Robert Abrams, Attorney-General (Joseph J. Hester of counsel), for respondent.
Concur: Chief Judge WACHTLER and Judges SIMONS, KAYE, ALEXANDER, TITONE, HANCOCK, JR., and BELLACOSA.
On review of submissions pursuant to section 500.4 of the Rules of the Court of Appeals (22 NYCRR 500.4), order affirmed. The Appellate Division properly concluded that the issues sought to be raised on appeal by defendant were waived by his guilty plea.
